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                            UNITED ST ATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ROBERT 0. DINKINS,                              )
                                                )
              Plaintiff,                        )
                                                )
       V.                                       )           No. 4:20-cv-00809-JAR
                                                )
STA TE OF MO, et al. ,                          )
                                                )
                                                )
              Defendants.                       )

                               MEMORANDUM AND ORDER

       This matter is before the Court on plaintiffs motion to proceed in forma pauperis on appeal.

(Docket No. 13). When this Court dismissed plaintiffs case, it certified in writing that an appeal

would not be taken in good faith, see 28 U.S.C. § 1915(a)(3), and it is not apparent that plaintiff

now seeks appellate review of any issue that is not frivolous. See Coppedge v. United States, 369

U.S. 438,445 (1962). The Court will therefore deny the motion.

       Accordingly ,

       IT IS HEREBY ORDERED that plaintiffs motion to proceed in forma pauperis on

appeal (Docket No. 13) is DENIED.

       Dated this 19th day of October, 2020.




                                                          . ROSS
                                                         D STATES DISTRICT JUDGE
